05-60006-rdd   Doc 3094   Filed 10/10/06 Entered 10/10/06 17:09:00   Main Document
                                      Pg 1 of 7
05-60006-rdd   Doc 3094   Filed 10/10/06 Entered 10/10/06 17:09:00   Main Document
                                      Pg 2 of 7
05-60006-rdd   Doc 3094   Filed 10/10/06 Entered 10/10/06 17:09:00   Main Document
                                      Pg 3 of 7
05-60006-rdd   Doc 3094   Filed 10/10/06 Entered 10/10/06 17:09:00   Main Document
                                      Pg 4 of 7
05-60006-rdd   Doc 3094   Filed 10/10/06 Entered 10/10/06 17:09:00   Main Document
                                      Pg 5 of 7
05-60006-rdd   Doc 3094   Filed 10/10/06 Entered 10/10/06 17:09:00   Main Document
                                      Pg 6 of 7
05-60006-rdd   Doc 3094   Filed 10/10/06 Entered 10/10/06 17:09:00   Main Document
                                      Pg 7 of 7
